
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1867

                          MIGUEL ANGEL AYALA-GERENA, ET AL.,

                               Plaintiffs - Appellants,

                                          v.

                            BRISTOL MYERS-SQUIBB COMPANY,
                         d/b/a BRISTOL MYERS-SQUIBB, ET AL.,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. H ctor M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                                _____________________

               Jes s  Hern ndez-S nchez,  with whom  Hern ndez  S nchez Law
               ________________________              ______________________
          Firm was on brief for appellants.
          ____
               Carl Schuster, with  whom Schuster Aguil  &amp; Santiago  was on
               _____________             __________________________
          brief for appellees.



                                 ____________________

                                  September 5, 1996
                                 ____________________


















                    TORRUELLA, Chief Judge.   Plaintiffs-Appellants, former
                    TORRUELLA, Chief Judge.
                               ___________

          employees of Squibb Manufacturing, Inc. ("SMI"), their wives, and

          their conjugal partnerships, brought action below seeking damages

          arising  from the termination of  their employment.  They brought

          alleged  violation of their  civil rights under  42 U.S.C.   1981

          due to their dismissal  due to their national origin  and/or race

          as Puerto Ricans; violation  of their right to privacy  under   8

          of Article II of  the Constitution of the Commonwealth  of Puerto

          Rico; defamation under 32 L.P.R.A.   3141-3149; and for breach of

          contract.1  The United States District Court, District of  Puerto

          Rico, dismissed  the last claim  and granted summary  judgment on

          the first  three in favor  of Defendants-Appellees, Bristol-Myers

          Squibb  Co. ("BMSC")  and four  of its  employees:   Mark Geraci,

          Director  of  Corporate  Security  ("Geraci"),   Eugene  Hackett,

          Manager  of Corporate  Security ("Hackett"),  Tibur Kerr,  Acting

          Plant  Administrator  ("Kerr"),  and   Bryan  Dunne,  Manager  of

          Corporate Security ("Dunne").  This appeal ensued.  We affirm.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    Reviewing the  summary judgment materials  in the light

          most  favorable to  Appellants, the  nonmovants, and  drawing all

          reasonable inferences  in their favor,  see, e.g., Alan  Corp. v.
                                                  ___  ____  ___________

          Int'l Surplus Lines Ins.  Co., 22 F.3d 339, 341 (1st  Cir. 1994),
          _____________________________

          we  present  a  thumbnail   sketch  of  the  factual  background,

          providing greater detail as the need arises.
                              
          ____________________

          1   Appellants requested, and  the court granted  with prejudice,
          dismissal  of their claim under  Puerto Rico Law  100 of June 30,
          1959, 29 L.R.P.A.   146.

                                         -2-














                    Appellants, all Puerto  Ricans, were regular  employees

          of  SMI -- which  is not  a party to  this action  -- in Humacao,

          Puerto Rico.  It  is uncontested that SMI's employees  are mostly

          Puerto  Rican.    According  to  Appellants'  complaint,  Geraci,

          Hackett, Kerr  and Dunne of BMSC were sent to Puerto Rico in 1991

          and 1992  in connection  with a security  investigation regarding

          missing inventory at SMI and the suspected illegal trafficking of

          pharmaceutical   drugs  and   other  products.     According   to

          Appellants' complaint, Appellees  developed a "discriminatory and

          persecutorial  policy"  against  them  in furtherance  of  BMSC's

          interest  in taking  control  of SMI's  management.   Geraci  and

          possibly others at BMSC contracted with certain named individuals

          to carry on the security investigation, which included conducting

          a  surveillance of  Appellants  and  their  families,  pressuring

          Appellants to testify falsely against SMI's management as part of

          BMSC's  attempt to gain control over SMI, and using illegal means

          to obtain evidence to be used to dismiss Appellants.   Geraci and

          Dunne   individually   interviewed   SMI   employees,   including

          Appellants, as part of the ongoing security investigation.  On or

          about  the date  of  the individual  interviews, Appellants  were

          dismissed from their employment at SMI between March and May 1992

          without  being  told  the reason  for  their  dismissal.   It  is

          uncontested  that no  one else  participated in  these interviews

          except  for a  translator, that  the interviews  took place  in a

          discrete  manner, and  that it  was Appellants  that subsequently

          publicized the details of the interviews. 


                                         -3-














                                      DISCUSSION
                                      DISCUSSION
                                      __________

                    Appellants  raise  four  challenges  to   the  district

          court's grant of summary judgment:  (i) discovery  was improperly

          cut  off;  (ii) their  production  of  documents was  erroneously

          denied; (iii)  summary judgment was erroneously  granted on their

          conspiracy claims;  and  (iv)  summary  judgment  was  improperly

          granted  on their  breach of  contract claim.   We  address each.

          Because the  first two  involve intertwining facts  and the  same

          standard of review, we address them together.

                     A.  Discovery Cut Off &amp; Document Production
                     A.  Discovery Cut Off &amp; Document Production

                    Appellants  raise  two discovery-related  challenges on

          appeal.   First, invoking Fed. R. Civ. P. 56(f), Appellants argue

          that the district  court erred when  it granted summary  judgment

          without  affording them  the benefit  of conducting  a reasonable

          discovery.   In support thereof, they claim they were diligent in

          their pursuit of discovery  but that Appellees refused  to comply

          with  their  requests  and  the district  court  granted  summary

          judgment without  acting upon their motions  to compel discovery.

          Second,  they claim error by the district court's denial of their

          February 9,  1994, request  for production of  certain documents.

          Appellees counter,  asserting that the record  clearly shows that

          the  district  court granted  Appellants  ample  time to  conduct

          discovery, and  that  they did  not "hide"  any information  from

          Appellants.  Thus, they  contend that the district court  did not

          abuse its discretion in denying their document production request

          as untimely.


                                         -4-














                    It  is  well settled  that  the trial  judge  has broad

          discretion  in ruling  on  pre-trial management  matters, and  we

          review  the district court's denial of discovery for abuse of its

          considerable  discretion.  See Fusco  v. General Motors Corp., 11
                                     ___ _____     ____________________

          F.3d  259, 267 (1st Cir.  1994); Serrano-P rez v.  FMC Corp., 985
                                           _____________     _________

          F.2d  625, 628  (1st  Cir. 1993).    "We will  intervene in  such

          matters only upon a clear showing of manifest injustice, that is,

          where the  lower court's  discovery order was  plainly wrong  and

          resulted in substantial prejudice to  the aggrieved party."  Mack
                                                                       ____

          v. Great Atlantic  and Pacific Tea Co.,  Inc., 871 F.2d  179, 186
             __________________________________________

          (1st Cir. 1989).   The same abuse of discretion  standard applies

          to a review of a district  court's denial of a Rule 56(f) motion.

          See,  e.g., Resolution Trust Corp.  v. North Bridge Assoc., Inc.,
          ___   ____  ______________________     _________________________

          22  F.3d 1198,  1203 (1st  Cir. 1994);  Price v.  General Motors,
                                                  _____     _______________

          Corp., 931 F.2d 162, 164 (1st Cir. 1991).
          _____

                    Before  addressing Appellants' arguments, we detail the

          pertinent procedural  history as revealed by  the relevant docket

          entries:

                    1.   8/10/92:  Complaint filed.
                         _______
                    2.   5/18/93:  Scheduling Order sets discovery deadline
                         _______
                                   for 10/15/93. 
                    3.   10/18/93: Appellants  move  to  extend  discovery.
                         ________
                                   New deadline set for 11/30/93.
                    4.   11/15/93: Appellants  request document  production
                         ________
                                   pursuant to Fed. R. Civ. P. 34.
                    5.   11/18/93: Appellants   move    again   to   extend
                         ________
                                   discovery.  New deadline set for 1/3/94.
                                   Court states this is the last extension.
                    6.   12/8/93:  Appellants move for status conference to
                         _______
                                   clarify discovery and to  further extend
                                   discovery by sixty days.  Denied.
                    7.   12/17/93: Pretrial Conference set for 2/4/93.
                         ________



                                         -5-














                    8.   1/3/94:   Appellants  move  to order  witnesses to
                         ______
                                   attend oral deposition.  Denied (see 11,
                                   below).
                    9.   1/10/94:  Appellees  move   for  summary  judgment
                         _______
                                   (SJ).
                    10.  1/14/94:  Appellants move for extension  to oppose
                         _______
                                   SJ.    Granted.     Opposition  due   by
                                   2/20/94.
                    11.  1/14/94:  Appellants   move   again   to   clarify
                         _______
                                   discovery   process.     Denied,  citing
                                   failure to comply  with Fed. R.  Civ. P.
                                   45(c)  regarding   personal  service  of
                                   subpoena and noting that it cannot allow
                                   further  disruption  in  the  scheduling
                                   order.
                    12.  2/2/94:   Appellees   submit   proposed   pretrial
                         ______
                                   order.
                    13.  2/3/94:   Appellants file SJ opposition.
                         ______
                    14.  2/4/94:   Pretrial   Conference.     Court  grants
                         ______
                                   parties until 2/10/94  to prepare  joint
                                   pretrial order.  Court denies Appellees'
                                   motion to dismiss.
                    15.  2/9/94:   Appellants move to supplement opposition
                         ______
                                   to  SJ,  to compel  document production,
                                   and to appoint special process server.
                    16.  2/10/94:  Pretrial  Conference. Appellants  submit
                         _______
                                   proposed pretrial order.   Court  grants
                                   pretrial order.  
                    17.  2/17/94:  Appellees    file    response   to    SJ
                         _______
                                   opposition.
                    18.  3/11/94:  Court  grants   SJ,  denies  Appellants'
                         _______
                                   motion to compel document production and
                                   to  appoint  a  special process  server.
                                   Court enters partial  judgment in  favor
                                   of Appellees.  Appellants' severance pay
                                   claim,   as   ordered  to   be  amended,
                                   remains.
                    19.  3/21/94:  Appellants move to  postpone jury  trial
                         _______
                                   to  file   reconsideration  motions  and
                                   motion for new trial.  Granted.
                    20.  3/28/94:  Appellants  move for  reconsideration of
                         _______
                                   grant of SJ.  Denied (see 22, below).
                    21.  3/29/94:  Appellants    move    for     additional
                         _______
                                   discovery.
                    22.  6/5/95:   Court  denies   Appellants'  motion  for
                         ______
                                   reconsideration,    grants    Appellees'
                                   motion    to   strike    third   amended
                                   complaint, and  denies Appellants' leave
                                   to file a fourth amended complaint.




                                         -6-














                    We turn  first to  Appellants' reliance on  Rule 56(f).

          Rule  56(f) "looms  large" when  a party  claims an  inability to

          respond  to  an opponent's  summary  judgment  motion because  of

          incomplete discovery,  Resolution Trust  Corp., 22 F.3d  at 1202,
                                 _______________________

          given that it is "intended  to safeguard against judges  swinging

          the  summary judgment  axe  too hastily,"  id.  at 1203.    While
                                                     ___

          certainly  district  courts  should construe  Rule  56(f) motions

          generously, we have noted that 

                      [t]his does not mean .  . . that [it] has
                      no  bite or that  its prophylaxis extends
                      to litigants who act lackadaisically; use
                      of  the rule  not  only requires  meeting
                      several  benchmarks  .  .  .  , but  also
                      requires due diligence  both in  pursuing
                                              ____
                      discovery  before  the  summary  judgment
                                 ______
                      initiative  surfaces  and in  pursuing an
                                            ___
                      extension of time  thereafter.  In  other
                      words, Rule 56(f) is designed to minister
                      to the vigilant, not to those who slumber
                      upon perceptible rights.

          Id.  at 1203 (emphasis  added).  We  have also held  that a party
          ___

          must invoke  Rule 56(f) within  a reasonable  time following  the

          receipt of a motion for summary judgment.  Id. at 1204.  
                                                     ___

                    With  this rubric  in  mind, we  find that  Appellants'

          invocation of Rule 56(f)  is misplaced for at least  two reasons.

          First,  the record  shows  that Appellants  filed their  original

          opposition  to summary judgment  without previously informing the

          court of their inability to  properly oppose summary judgment due

          to  incomplete discovery.   In fact,  Appellants never  sought an

          additional  extension  of  the discovery  deadline  before filing





                                         -7-














          their  opposition.2   Moreover,  both  Appellants' original3  and

          supplemental4 oppositions  to  summary judgment  are  deafeningly

          silent  as to their inability  to oppose summary  judgment due to

          incomplete  discovery.   The first  time Appellants  informed the

          district  court  about  outstanding  discovery  was  during   the

          February 4, 1994, and  February 10, 1994,  pre-trial conferences,

          after  having  already  filed their  opposition  and supplemental

          opposition respectively. 

                    Second,  we  are  hard-pressed to  conclude  that  this

          record supports a finding that Appellants exercised due diligence

          or were  otherwise "vigilant" before Appellees  moved for summary
                                        ______

          judgment on January 10, 1994.  After requesting and receiving two

          extensions,  discovery concluded  on  January 3,  1994 --  almost
                              
          ____________________

          2  While they did file  on January 14, 1994, a motion  to clarify
          the  discovery process, they did not mention in that motion their
          need for additional discovery in order to properly oppose summary
          judgment.  The district  court denied their motion,  noting their
          failure  to comply  with  the Federal  Rules  of Civil  Procedure
          regarding service and the ample time they had for discovery.

          3    Appellants'  ten-page  opposition addressed  the  merits  of
          Appellees'  arguments  in  favor of  summary  judgment,  attached
          various depositions  and suggested that, if the  court "[had] any
          doubt" about the truth  as revealed by the attached  depositions,
          it  could  schedule  a  hearing  or  grant  additional  time  for
          Appellants to address in greater detail  each of the "defendants'
          outrageous conclusions."   Docket No. 50, p.  9.  The  only basis
          advanced  for not responding to  each of the  arguments was "time
          restrictions." 

          4   While Appellants  do state  in their  supplemental opposition
          that the records finally  received from Appellees are "incomplete
          according to the depositions  taken to [sic] co-defendants .  . .
          [which] are part  of the  record", Appellants do  not argue  that
          they are unable to oppose summary  judgment because of incomplete
          discovery; indeed,  they state that  "although incomplete  . .  .
          [these  records]  clearly  reveal  the   discriminatory  animus."
          Docket No. 51, p. 2. 

                                         -8-














          eighteen months after Appellants  filed their complaint on August

          10, 1992, and almost eight months after the court's May 18, 1993,

          scheduling  order.    Appellants  did  not  serve  a request  for

          document  production  until November  12,  1994,  after they  had

          received their first extension5  and only two weeks prior  to the

          end of the new discovery period set for November 30, 1994.  

                    Furthermore, Appellants failed  to meet with  Appellees

          pursuant  to  Local  Rule  311.11 to  discuss  Appellees'  timely

          objections  to  their document  request --  as  set forth  in two

          letters,  dated November 24, 1993, and December 15, 1993 -- prior

          to the conclusion  of discovery on  January 3,  1994.  See  Local
                                                                 ___

          Rule 311.11.  Pursuant to this Rule, parties are required to meet

          in a good  faith effort to eliminate disputes regarding discovery

          prior to filing any discovery-related  motion or objection.   The

          Rule also provides that, unless relieved by agreement or by order

          of the court upon good cause  shown, counsel must meet within ten

          days  of service of a letter requesting a Rule 311.11 conference,

          and that Appellants  -- as the movants -- bore the responsibility

          for arranging  a conference.  See  Local Rule 311.11.   Here, the
                                        ___

          record clearly  shows that Appellants  failed to comply  with the

          Rule or carry their burden thereunder.  Not only is it undisputed

          that  the parties' Local Rule  311.11 meeting was  not held until

          February 1, 1994 --  more than two months after  Appellees' first

                              
          ____________________

          5  In their first  motion for extension, dated October 11,  1993,
          Appellants represented  to the court  that neither party  had yet
          completed the  interrogatories but  that both parties  had worked
          diligently in the matter. 

                                         -9-














          timely objection and more than one month after Appellees'  second

          letter  which expressly  invited Appellants'  counsel to  meet on

          December  27,  1993 --  but there  is  absolutely no  evidence of

          timely notification to the court or of good cause for the failure

          to meet earlier or to timely advise the court.  

                    Moreover,  after  Appellees   filed  their  motion  for

          summary judgment,  Appellants never  filed for another  discovery

          extension prior to filing their opposition to summary judgment on
                    _____

          February 3, 1994.  As noted  above, it was not until the February

          4 and February 10 pre-trial conferences  that Appellants informed

          the district court of Appellees'  failure to produce documents --

          almost one  month after the second-extended  discovery period had

          concluded and the day after Appellants had filed their opposition

          to summary judgment. 

                    Attempting nonetheless  to invoke the benefits  of Rule

          56(f), Appellants argue that  in order to trigger Rule  56(f) the

          nonmoving  party  need  only  submit   an  equivalent  statement,

          preferably in  writing, of  their need for  additional discovery.

          See, e.g., St. Surin v. Virgin  Islands Daily News, Inc., 21 F.3d
          ___  ____  _________    ________________________________

          1309, 1313-14 (3d Cir. 1994); Wichita Falls Office Assoc. v. Banc
                                        ___________________________    ____

          One Corp.,  et al.,  978 F.2d  915, 919  (5th  Cir. 1992),  cert.
          __________________                                          _____

          denied, 508 U.S.  910 (1993).  Relying  on these two cases,  they
          ______

          insist that they triggered Rule 56(f), because "through the whole

          procedure  of the case [they] presented in writing and before the

          court  more than  plausible  basis to  believe that  discoverable

          materials  existed which were  essential to their  case and would


                                         -10-














          raise  truthworthy issues."   Appellants' Brief,  p. 24.   Unlike

          Appellants here, the  parties in those cases  both requested Rule

          56(f)  extensions after  the  opposing party  filed a  motion for
                            _____

          summary judgment, specified that discovery had not concluded, and

          identified the  outstanding items  which would be  dispositive to

          the issues  raised.  More  importantly, unlike the  instant case,

          the  facts in those cases  indicated that the  nonmovants had not

          been dilatory in obtaining discovery.   See St. Surin, 21 F.3d at
                                                  ___ _________

          1315 (concluding that nonmovant should  not suffer from a failure

          of proof caused by his accommodation of the movant's requests for

          delay); Wichita  Falls, 978 F.2d  at 919 (finding  that nonmovant
                  ______________

          was not dilatory because it reasonably awaited outcome of pending

          negotiations).     In  any   event,  we  remain   unpersuaded  by

          Appellants'  list of  the allegedly  numerous times  they brought

          this  matter to the court's attention; in fact, their list belies

          that they so informed the court.   For example, contrary to their

          claim,  Appellants'  two-paragraph request  for  an  extension to

          oppose   summary  judgment  makes   no  reference  whatsoever  to

          discovery matters.  Similarly,  while Appellants claim that their

          opposition to Appellee's motion for summary judgment "state[d] to

          the Court the situation about the documents and  information that

          defendants were refusing to provide," Appellants' Brief, p. 23, a

          review of their opposition reveals no such statement.  

                    In  light of  the  two extensions  granted, the  latter

          stating that this was the final extension, Appellants' failure to

          comply with  Local Rule  311.11, and  what  appears to  us as  an


                                         -11-














          overall lack of due diligence, we find no abuse of discretion  by

          the district court.  Contrary to Appellants' assertion, in no way

          did the  district court  grant summary judgment  "without [their]

          benefit  to [sic] a reasonable  discovery."  Indeed, the district

          court was  never put  in the  position of  granting a  Rule 56(f)

          motion  given  that  Appellants  only informed  the  court  about

          Appellees' failure  to produce discovery after  the conclusion of
                                                   _____

          discovery, after Appellants' oppositions  to summary judgment had
                     _____

          been filed, and on the eve of the pre-trial stage.

                    For  obvious   reasons,  we  also  find   no  abuse  of

          discretion  by the district court when it denied what was clearly

          Appellants' untimely  motion to  compel document production.   We

          remind Appellants that Local  Rule 311.11 expressly prohibits the

          court from  entertaining any motion relating  to discovery unless

          the  moving party -- here, Appellants -- first advised the court,

          in  writing, that the parties  have been unable  to resolve their

          differences or  reach an  agreement after counsel  have held  the

          required conference,  or that counsel for  respondent has refused

          to  confer or  delayed the  conference without  good cause.   See
                                                                        ___

          Local Rule  311.11.  The  first time Appellants  provided written

          notification  was  on  February  9,  1994.    The court  informed

          Appellants  during the  February 10,  1994, pre-trial  conference

          that, had they timely filed a written motion to compel, the court

          could  have  requested  the  documents  and  made  an  in  camera

          inspection  of  them  to  assess  the  legitimacy  of  Appellees'

          objections.  As the  district court correctly noted in  its order


                                         -12-














          denying  Appellants'  post-summary  judgment   motion  requesting

          additional discovery and a new trial, Appellants waited more than

          one  month  after  the  second extended  discovery  deadline  had

          elapsed to  properly request  an order  from the district  court.

          Appellants'  claim that  Appellees  were "hiding"  information is

          essentially irrelevant  against the backdrop of their own lack of

          diligence as evidenced by  the lateness of the Local  Rule 311.11

          meeting and their untimely  motion to compel document production.



                    In sum, based on our review  of the record, we find  no

          abuse  of discretion by the district court with respect to either

          of Appellants'  claimed errors;  indeed, in light  of Appellants'

          lack of diligence and failure to follow the rules, we do not even

          find   a  hint  of  any  abuse  of  the  district  court's  broad

          discretion.   As we have stated before, "[s]ticking the appellate

          nose  too readily  into the  district court's  scope-of-discovery

          tent  is, we think,  a recipe for  disaster."  Mack,  871 F.2d at
                                                         ____

          187.    Where, as  here, the  district  court could  have allowed

          further  discovery, "it was certainly  free to call  the shot the

          other  way."  Id.  None of Appellants' arguments, including those
                        ___

          not addressed, persuade us that this record warrants a disruptive

          "nosey" appearance.

                                 B.  Summary Judgment
                                 B.  Summary Judgment

                                   1.  The Standard
                                   1.  The Standard

                We afford plenary review  to the entry of  summary judgment

          on Appellants' claims.   See, e.g., Perkins v. Brigham  &amp; Women's
                                   ___  ____  _______    __________________


                                         -13-














          Hospital, 78 F.3d 747, 748 (1st Cir. 1996); Smith v. F.W. Morse &amp;
          ________                                    _____    ____________

          Co., 76 F.3d 413, 428  (1st Cir. 1996).  The function  of summary
          __

          judgment is "to pierce the boilerplate of the pleadings and assay

          the  parties'  proof in  order  to  determine  whether  trial  is

          actually required."  Wynne v. Tufts  Univ. Sch. of Med., 976 F.2d
                               _____    _________________________

          791, 794 (1st  Cir. 1992),  cert. denied, 507  U.S. 1030  (1993).
                                      ____________

          "The criteria are familiar:   a court may grant  summary judgment

          if the nisi  prius roll  discloses no genuine  issue of  material
                 ___________

          fact  and if,  viewing  the  entire  record  in  the  light  most

          flattering  to  the  nonmovant,  the proponent  demonstrates  its

          entitlement to judgment as a matter of law."  Perkins, 78 F.3d at
                                                        _______

          748; see Fed.  R. Civ. P. 56 (c).  In order to survive the "swing
               ___

          of  the summary  judgment  axe,"  Mack,  871  F.2d  at  181,  the
                                            ____

          nonmoving  party  must produce  evidence  on  which a  reasonable

          finder  of fact, under the appropriate proof burden, could base a

          verdict for it; if  that party cannot produce such  evidence, the

          motion  must be granted.  See  Celotex Corp. v. Catrett, 477 U.S.
                                    ___  ____________     _______

          317, 323 (1986);  Anderson v.  Liberty Lobby, 477  U.S. 242,  249
                            ________     _____________

          (1986).   "The mere  existence  of some  alleged factual  dispute
                                             ____

          between  the  parties  will  not  defeat  an  otherwise  properly

          supported motion  for summary  judgment; the requirement  is that

          there be no genuine issue of material  fact."  Anderson, 477 U.S.
                      _______          ________          ________

          at 247-48  (emphasis in  original).  "[S]peculation  and surmise,

          even  when  coupled  with  effervescent optimism  that  something

          definite will  materialize further down the  line, are impuissant

          in  the face of  a properly documented  summary judgment motion."


                                         -14-














          Roche v. John Hancock Mutual Life Ins. Co., 81 F.3d 249, 253 (1st
          _____    _________________________________

          Cir. 1996).   "Moreover, '[e]ven in cases  where elusive concepts

          such  as motive or  intent are at issue,  summary judgment may be

          appropriate if  the nonmoving party rests  merely upon conclusory

          allegations,     improbable    inferences,     and    unsupported

          speculation.'"  Goldman v.  First Nat'l Bank of Boston,  985 F.2d
                          _______     __________________________

          1113, 1116 (1st Cir. 1993) (quoting Medina-Mu oz v. R.J. Reynolds
                                              ____________    _____________

          Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990)).
          ___________

                    Based  upon  our  independent  review  of  the  summary

          judgment materials, we note as an initial matter that Appellants'

          challenge  on appeal is augmented by its failure, as the district

          court noted,  to present a  thorough and  specific opposition  to

          Appellees'   well-documented   motion   for   summary   judgment.

          Appellants' failure  to provide a separate  statement of disputed

          facts  resulted  in the  district  court's  taking of  Appellees'

          statement  of  uncontested facts  as  admitted.   See  Local Rule
                                                            ___

          311.12;  see  also  Stepanischen  v. Merchants  Despatch  Transp.
                   _________  ____________     ____________________________

          Corp., 722 F.2d 922, 930 n.2 (1st Cir. 1983).  The district court
          ____

          also  properly  disregarded   Appellants'  numerous   unsupported

          factual allegations.   These missteps below  accompany Appellants

          on appeal, making their  challenge more of an uphill  battle than

          it otherwise might  have been.   That  said, we  address each  of

          their claims in turn.

                              2.  The Section 1981 Claim
                              2.  The Section 1981 Claim

                                       The Law
                                       The Law




                                         -15-














                    In  order to  prevail under  Section 1981,  a plaintiff

          must prove  purposeful employment  discrimination:   the ultimate

          issue  is  whether   the  defendant  intentionally  discriminated

          against  the  plaintiff,  under  the  by-now familiar  analytical

          framework used in disparate treatment cases under Title VII.  See
                                                                        ___

          Patterson  v. McLean  Credit  Union, 491  U.S.  164, 186  (1989).
          _________     ______  _____________

          Absent   direct   evidence   of  race   and/or   national  origin

          discrimination,  the  burden-shifting  framework  established  in

          McDonnell  Douglas Co.  v. Green,  411 U.S.  792, 802-05  (1973),
          _____________________      _____

          comes into play.  See St. Mary's Honor Center v.  Hicks, 509 U.S.
                            ___ _______________________     _____

          502, 505-07, (1993);  Patterson v. McLean Credit  Union, 491 U.S.
                                _________    ____________________

          164, 109 (1989); Goldman, 985 F.2d at 1116-17.
                           _______

                    Under  the McDonnell  Douglas  framework,  a  plaintiff
                               __________________

          first  must  make  a   prima  facie  showing  of  discrimination,
                                 ____________

          established  by proving:   (i)  that plaintiff is  a member  of a

          protected class; (ii)  that plaintiff  performed his  or her  job

          satisfactorily;  (iii)  that plaintiff  was discharged;  and (iv)

          that plaintiff's position remained open and was eventually filled

          by  persons with  plaintiff's qualifications.   St.  Mary's Honor
                                                          _________________

          Center,  509 U.S. at 506.  A plaintiff's successful production of
          ______

          a  prima facie case creates a presumption of discrimination.  Id.
             ___________                                                ___

          Upon  such  a showing,  the burden  of  production shifts  to the

          defendant in order to show a legitimate, nondiscriminatory reason

          for  plaintiff's  termination.     Id.    If  the  defendant   is
                                             ___

          successful, the plaintiff must  then show that defendant's reason

          is   merely   pretextual   and   that   defendant   intentionally


                                         -16-














          discriminated against him or her.  Id. at 507.  In the context of
                                             ___

          a summary  judgment proceeding,  once the employer  articulates a

          legitimate,  nondiscriminatory basis  for its  adverse employment

          decision, the  plaintiff must  offer direct or  indirect evidence

          sufficient to show that the employer's decision  to discharge him

          or her  was wrongfully based  on race  or national  origin.   See
                                                                        ___

          e.g.,  Pages-Cahue v. Iberia Airlines of Spain, 82 F.3d 533, 536-
          ____   ___________    ________________________

          37  (1st   Cir.  1996)   (involving  age   discrimination  claim)

          (collecting cases).

                    The  McDonnell Douglas  framework, however,  only comes
                         _________________

          into play  where there is  no direct evidence  of discrimination.

          In cases involving direct  evidence of discriminatory motive, the

          burden of persuasion  shifts from the  employee to the  employer,

          who must then  affirmatively prove  that it would  have made  the

          same   decision  even   if  it   had  not  taken   the  protected

          characteristic into account.   See  e.g., Smith v.  F.W. Morse  &amp;
                                         ___  ____  _____     _____________

          Co.,Inc., 76 F.3d  413, 421 (1st Cir. 1996)  (citations omitted).
          ________

          While  we have held that "[d]irect evidence is evidence which, in

          and of itself, shows a discriminatory animus," see, e.g., Jackson
                                                         ___  ____  _______

          v. Harvard  Univ., 900 F.2d 464,  467 (1st Cir. 1990),  it is not
             ______________

          always clear what constitutes direct evidence, see Smith, 76 F.3d
                                                         ___ _____

          at 421;  id. at  431 (Bownes,  Senior Circuit Judge,  concurring)
                   ___

          (noting  that the  majority reference  to "smoking  gun" evidence

          obscures the fact  that this  Circuit has yet  to clearly  define

          what constitutes direct evidence of gender discrimination). 




                                         -17-














                    As far as the instant case is concerned, however, we do

          know that, at a  minimum, direct evidence does not  include stray

          remarks   in   the   workplace,   particularly  those   made   by

          nondecisionmakers  or statements made by decisionmakers unrelated

          to  the  decisional  process  itself.   See  Price  Waterhouse v.
                                                  ___  _________________

          Hopkins, 490 U.S. 228, 251-52 (1989) (plurality op.); id. at 277-
          _______                                               ___

          78 (O'Connor, J., concurring); Smith, 76  F.3d at 433 (concurring
                                         _____

          opinion).    While  perhaps probative  of  discrimination,  stray

          remarks  do   not  satisfy   a  plaintiff's  burden   of  proving

          discrimination by direct evidence.  Price Waterhouse, 490 U.S. at
                                              ________________

          277 (O'Connor, J. concurring).   In our view, such  stray remarks

          lack   the  necessary   link   between  the   alleged   speaker's

          discriminatory remark  and the adverse employment  decision.  Cf.
                                                                        __

          Smith,  76  F.3d  at  421  (suggesting  that direct  evidence  of
          _____

          employment discrimination based on  gender would be "an admission

          by the employer  that it  explicitly took  actual or  anticipated

          pregnancy into account in reaching an employment decision").

                    With  the  legal framework  outlined,  we  turn to  see

          whether Appellants  can avoid the "swing of  the summary judgment

          axe,"  Mack, 871  F.2d at  181, mindful  that a  district court's
                 ____

          grant  of summary judgment against the employee will be upheld if

          the  record  is  devoid  of  adequate  direct  or  circumstantial

          evidence of the employer's discriminatory intent.

                                       Analysis
                                       Analysis

                    In  the  instant  case,  the  district  court  rejected

          Appellants'  contention  that  they  proved  by  direct  evidence


                                         -18-














          Appellees' discriminatory animus in terminating their employment.

          It  focused on two remarks, disregarding others on the basis that

          they were  not  substantiated.    We, too,  follow  the  district

          court's  steps  and   will  focus  only   on  the  two   properly

          substantiated remarks.6  The summary judgment materials show that

          the two remarks upon which Appellants rely were made  on or about

          the date of Appellants' respective dismissals.   The first remark

          pointed to was allegedly made by Hackett, in which he stated that

          the company had  a "black mafia  [which was] getting rich  at the

          expense  of the company."   Deposition of Serrano,  p. 125, lines

          21-23.  The second was allegedly made by both Hackett and Geraci,

          in which they  stated that Serrano, as a  Puerto Rican, may never

          get another opportunity to  work for a North American  company if

          Serrano were to be fired by SMI.  Id. at 86, lines 13-21. 
                                            ___

                    As   we   understand   Appellants'    arguments,   they

          essentially claim that the  references to a "black mafia"  and to

          their being Puerto Rican are "smoking gun" evidence of Appellees'

          discriminatory animus in terminating  their employment.  For this

          to be  so, Appellants must demonstrate that  "black mafia" refers


                              
          ____________________

          6   We decline Appellants' request to take into consideration the
          sworn statements submitted with their motion for reconsideration.
          Not  only were  they not  part of  the original  summary judgment
          materials,  but Appellants  have  not demonstrated  why this  new
          evidence  could not  have been timely  provided with  the summary
          judgment materials.  See  Roche v. John Hancock Mutual  Life Ins.
                               ___  _____    ______________________________
          Co., 81 F.3d 249, 253 (1st Cir. 1996) ("Put bluntly, 'motions for
          ___
          summary judgment must be decided on the record  as it stands, not
          on  a litigant's  visions  of  what  the  facts  might  some  day
          reveal.'")  (quoting  Maldonado-Denis  v. Castillo-Rodr guez,  23
                                _______________     __________________
          F.3d 576, 581 (1st Cir. 1994)). 

                                         -19-














          to  Appellants'  racial  or  ethnic  background  and  that  these

          references were made in connection with the decisional process.  

                    We turn first to the  meaning of "black mafia."  As  an

          initial matter, we note that the record sheds little light on its

          meaning, and does not demonstrate that it has anything to do with

          Appellants' racial  or ethnic background.7  In fact, when pressed

          during oral  argument, counsel for Appellants  simply stated that

          he  "gathered"  it  referred to  Puerto  Ricans.    The very  few

          references to  "black mafia"  pointed to  by Appellants  in their

          opposition  to  summary  judgment  suggest   that  "black  mafia"

          referred to,  as Appellant  Serrano testified in  his deposition,

          members of SMI's management "who were getting rich at the expense

          of the company, at [BMSC's] expense"; indeed, Serrano's testimony

          that the "['black mafia'] was made up by  all the managers" seems

          to undercut  Appellants' claim  that Appellees were  referring to

          them as members  of a "black  mafia."  Id.  at 125, lines  23-24.
                                                 ___

          Based  on the record,  we are hard-pressed  to conclude Appellees

          were referring  to Appellants with a  discriminatory animus based

          on their race or national origin. 



                              
          ____________________

          7  In this regard, we note that use of the adjective "black" does
          not necessarily refer to skin color.   It has been widely used to
          describe,  among  other  things,  sinister  or  evil  actions  or
          characters.  See  Merriam Webster's Collegiate  Dictionary, Tenth
                       ___  ________________________________________
          Ed.,  pp.  118-20 (1993).   "Mafia"  is  defined as  a particular
          "criminal  organization" or  "a group  of people  likened to  the
          Mafia,"  id.  at 699.    Taken together,  "black"  could arguably
                   ___
          describe the collective skin color of the members of the criminal
          organization  or  the  group's  illegal,  illicit  or clandestine
          activities in a similar vein to "black market."

                                         -20-














                    While  we could end the inquiry here, we note that even

          assuming that the  term "black mafia" was  racially or ethnically

          charged, neither of these statements  constitutes direct evidence

          of discrimination.    While  the close  time  frame  between  the

          interviews and the dismissals is  suspicious, see Smith, 76  F.3d
                                                        ___ _____

          at  423 (noting  temporal  proximity as  a  factor); id.  at  432
                                                               ___

          (citing  cases),  Appellants  have  not demonstrated  --  as  the

          district  court noted  -- that  they  were terminated  because of

          their  race  or  national  origin   or  that  the  speakers  were

          decisionmakers  who  made the  comments  in  connection with  the

          decisional process.  Indeed, Hackett  and Geraci are employees of

          BMSC,  not  SMI,  and  it  is  uncontested  that Appellants  were

          employees of SMI at the time of their dismissals.

                    Even assuming, as Appellants  allege, that Hackett  and

          Geraci  ordered  SMI's  Human  Resources  Director  to  terminate

          Appellants'  employment does  not assist  Appellants, because  of

          their  failure  to  provide  specific factual  support  that  the

          alleged  remarks  were made  in  connection  with the  employment

          decisional   process.     Resting   on   conclusory  allegations,

          improbable  inferences  and  unsupported  speculation   does  not

          suffice.    See Goldman,  985  F.2d  at 1116.    In other  words,
                      ___ _______

          Appellants  have  failed  to show  what  we  consider  to be  the

          necessary link between the  speakers' statements and the decision

          to  terminate  Appellants'   employment.     Our  conclusion   is

          particularly  reinforced by the  uncontested fact that Appellants

          did  not mention their race  or national origin  as a factor when


                                         -21-














          asked  why they  thought  their employment  had been  terminated:

          some  admitted that  they had  no knowledge  of the  reason while

          others offered the non-discriminatory reason that their dismissal

          was connected to the ongoing security investigation.8 

                    For  the foregoing reasons,  we find no  reason on this

          record to consider these  alleged statements to be anything  more

          than "stray remarks" which fail to  satisfy Appellants' burden of

          production of direct evidence.  We  merely add this:  contrary to

          what seems to drive  Appellants' argument, the mere fact  that it

          is  possible, indeed  probable,  that there  was some  connection

          between Appellants' dismissal and the security investigation does

          not render Appellants' termination ipso facto discriminatory.
                                             __________

                    Because  we  conclude that  Appellants  have failed  to

          demonstrate discriminatory animus by direct evidence, we consider

          next whether Appellants  can do  so through a  prima facie  case.
                                                         ___________

          This analysis is,  for Appellants, painfully  quick:  While  they

          satisfy the  first and third  prongs, as  they are  members of  a

          protected class  as Puerto Ricans  and they were  all terminated,

          they have not proven that they performed their jobs adequately or

          that   persons  with   their  qualifications  filled   their  job

          positions;  indeed, they  do  not even  argue  as much  in  their

          appellate brief.   In light  of their  failure to  prove a  prima
                                                                      _____


                              
          ____________________

          8  It  is also uncontested that Appellants were  not present when
          the decision to terminate their  employment was made.  We do  not
          give  this  fact  much  weight  considering  that  an  employee's
          presence  at that actual moment  is more likely  to be an anomaly
          than the rule. 

                                         -22-














          facie case, we do not need to proceed further with the  McDonnell
          _____                                                   _________

          Douglas analysis. 
          _______

                    In light  of Appellants' failure to  carry the ultimate

          burden of  proving that  Appellees discriminated against  them on

          the basis of  their race or national origin, we  affirm the grant

          of summary judgment,  pausing only  to add this:   The  foregoing

          and, particularly,  the plethora of allegations  unclothed by any

          specific factual record evidence,  suggest to us that Appellants'

          claims of  discrimination based on  race and national  origin are

          but mere "unsupported conclusions . .  . [which plausibly] . .  .

          sprout[ed] as  easily as  crabgrass in an  imaginative litigant's

          (or lawyer's) word processor."  The Dartmouth Review v. Dartmouth
                                          ____________________    _________

          College,  889 F.2d 13, 16 (1st Cir.  1989) (noting that "to avoid
          _______

          tarring defendants'  reputation unfairly and to prevent potential

          abuses, we have consistently required plaintiffs to outline facts

          sufficient   to   convey    specific   instances   of    unlawful

          discrimination.").

                               2.  The Defamation Claim
                               2.  The Defamation Claim

                    Appellants claim damages from defamation based on  four

          incidents:   (i)  alleged public  and intraoffice  accusations by

          Appellees that Appellants were  thieves; (ii) newspaper  articles

          which discussed, among other matters, the irregularities in SMI's

          inventory;  (iii)   the  interviews  in  which   Appellants  were

          questioned while  a third party,  a translator, was  present; and

          (iv)  statements  labeling  Appellants  as members  of  a  "black

          mafia."    The  district  court  thoroughly  reviewed Appellants'


                                         -23-














          arguments in support of  their claim, concluding that in  each of

          the  four instances  Appellants --  for a  variety of  reasons --

          failed to meet their burden of proving defamation.  We agree.

                    "Under Puerto  Rico  law, a  defamation claim  requires

          that  the plaintiff prove: (1) that the information is false, (2)

          that plaintiff  suffered real damages,  and (3) in the  case of a

          private figure  plaintiff, that  the publication was  negligent."

          Mojica  Escobar  v.  Roca, 926  F.  Supp.  30,  33 (D.P.R.  1996)
          _______________      ____

          (citations omitted);  see also  Pages v.  Feingold, 928  F. Supp.
                                ________  _____     ________

          148,  153 (D.P.R.  1996)  (noting that  negligence in  defamation

          cases is applied as  interpreted under Section 1802 of  the Civil

          Code,  31 L.P.R.A.   5141); Garib Baz n v. Clavell, 94 J.T.S. 36,
                                      ___________    _______

          p. 11677 (1994).   For  both libel and  slander, Puerto Rico  law

          requires  that plaintiff  prove  that the  alleged defamation  is

          false.   See 32 L.P.R.A.    3142 (defining  libel); 32 L.P.R.A.  
                   ___

          3143 (defining slander); see  also  Mojica Escobar, 926  F. Supp.
                                   _________  ______________

          at 34; Villanueva v.  Hern ndez Class, 91 J.T.S. 58,  pp. 8696-97
                 __________     _______________

          (1991).

                    Here,  what undercuts Appellants' defamation claim with

          respect  to the first three instances is their failure to present

          a single shred of competent evidence, as distinguished from their

          conclusory assertions,  which tends  to establish the  falsity of

          any  of  the  alleged  defamatory statements.    Because  of this

          failure to carry their burden of proof as to the falsity of those

          three statements, Appellants' defamation claim for both libel and

          slander  based on  the first  three instances  necessarily fails.


                                         -24-














          See Mojica Escobar, 926 F. Supp. at 34 (granting summary judgment
          ___ ______________

          based on plaintiff's  failure to carry burden  of proving falsity

          of offending publications).   Based on our review of  the record,

          Appellants have  utterly failed  to carry their  summary judgment

          burden  of  presenting  definite,  competent  evidence  to  rebut

          Appellees' motion  for summary  judgment:   they  have failed  to

          establish  the existence  of  a genuine,  material triable  issue

          regarding the falsity of  the alleged statements.  The  fact that

          Appellees  do not assert the  truth of the  alleged statements is

          irrelevant  here  as  Appellants  have  failed  to  establish  an

          essential element of their claim.  Cf. id.  In light of this,  we
                                             ___ ___

          do  not need to address the remaining elements in connection with

          the first three instances.

                    As to the fourth instance, regarding the "black mafia,"

          the district court correctly dismissed this statement as proof of

          defamation  in  light  of  (i)  Appellants'  failure  to  provide

          affidavits or deposition testimony supporting this allegation and

          (ii)  the  fact  that,  while Appellant  Serrano  testified  that

          Appellee Hackett  referred to a "black mafia,"  the reference was

          not  made in connection to Appellants but, as discussed above, in

          reference to SMI's management.

                    Because we  do not  need to address  whether Appellants

          carried  their burden  as to  the remaining  elements, we  do not

          address their argument challenging  the district court's grant of

          qualified immunity relating to the interviews in which Appellants

          were  questioned.   See Porto  v. Bentley  Puerto Rico,  Inc., 92
                              ___ _____     ___________________________


                                         -25-














          J.T.S.  175,  10248  (1992)  (adopting  the  majority  rule  that

          intracorporate  communication is equivalent  to publication while
          _____

          also  recognizing qualified immunity).   We only add  this:  Even

          assuming that Appellants had  submitted evidence that the alleged

          defamatory  statements were false,  based upon our  review of the

          summary judgment  materials and  Appellants'  arguments we  would

          nonetheless conclude that their defamation claim fails and, thus,

          would affirm the district court's grant of summary judgment.  

                    Finally, Appellants also allege that the district court

          erred because there was sufficient evidence of a conspiracy under

          Puerto Rico law on the part of  Appellees "to falsely accuse them

          of being thieves and drug dealers."  See 33 L.P.R.A.    4523(2)9;
                                               ___

          see  also  People v.  Arreche Holdun,  114  P.R. Dec.  99 (1988).
          _________  ______     ______________

          According to  Appellants, the BMSC officials  named as defendants

          in the action below came to Puerto Rico "with the task of framing

          and fabricating evidence  to dismiss SMI  officials so that  BMSC

          could control key  positions."  For support, Appellants  point us

          to their March 28,  1994, motion requesting additional discovery.

          As an initial matter, we note that Appellants neither included in

          their  complaint a  cause of  action for  conspiracy nor  did the
                              
          ____________________

          9  This section provides, in pertinent part:

                         If two or more  persons conspire . . .
                      (2)  to  falsely  or  maliciously  accuse
                      another   person  of  any  crime,  or  to
                      attempt  that another  to  be charged  or
                      arrested for  any crime;  . . .  shall be
                      punished  by imprisonment  . .  . ,  or a
                      fine . . . .

          L.P.R.A. T.33   4523(2).

                                         -26-














          district court  explicitly address  conspiracy.   Possible waiver

          aside,  we decline to consider  their March 28,  1994, motion for

          the simple reason that this was not part  of the summary judgment

          record.  What  is more, based  on our own  review of the  summary

          judgment  materials,  we  find  no  record  evidence  to  support

          Appellants'  naked assertion that Appellees framed false evidence

          against  Appellants.   While  their  supplemental  opposition  to

          summary judgment  includes documents with references  to a "gang"

          and a "mafia"  and to the  stealing of inventory  from SMI,  this

          does not prove there was a conspiracy.  We need not consider this

          argument further. 

                          3.  The Invasion of Privacy Claim
                          3.  The Invasion of Privacy Claim

                    Appellants   also  seek  damages  based  on  Appellees'

          alleged violation of their right to privacy under the Puerto Rico

          Constitution, claiming  that they were followed,  telephoned, and

          photographed without  their permission and put  on an "industrial

          blacklist"  which  has hindered  their  efforts  at securing  new

          employment.   A claim for invasion of privacy is actionable under

          Sections 1 and  8 of Article II of the  Puerto Rico Constitution,

          which,  respectively, provide  that "[t]he  dignity of  the human

          being  is inviolable" and that  "[e]very person has  the right to

          the  protection  of law  against  abusive attacks  on  his honor,

          reputation and private  or family life."  P.R.  Const. art II,   

          1,  8;  see generally,  Mojica Escobar,  926  F. Supp.  at 34-35;
                  _____________   ______________

          L pez-Pacheco  v.  United  States,  627 F.  Supp.  1224,  1227-29
          _____________      ______________

          (D.P.R. 1986), aff'd, 815 F.2d 692 (1st Cir. 1987).  The district
                         _____


                                         -27-














          court  granted  summary  judgment  on the  basis  of  Appellants'

          failure to provide  any evidence that their  privacy was invaded.

          Appellants  do not explicitly appeal this  aspect of the district

          court's decision.   Waiver aside, we nonetheless note that, based

          upon our independent review of the record, we affirm the district

          court's  grant  of  summary judgment  for  the  very  same reason

          enunciated by the district court.  

                        4.  Breach of the Employment Contract
                        4.  Breach of the Employment Contract

                    Appellants  argue on  appeal  that  the district  court

          erred in dismissing their claim that BMSC violated the employment

          contract  between SMI  and Appellants  inasmuch as  BMSC did  not

          comply  with provisions in the Employee's  Manual when it ordered

          SMI  to terminate Appellants' employment.   See Santiago v. Kodak
                                                      ___ ________    _____

          Caribbean,  92  J.T.S. 11,  9164  (1992)  (holding that  employee
          _________

          manuals describing  rights and privileges constitute  part of the

          employment contract and that  dismissals in violation thereof are

          unjustified).10  

                    The  court dismissed  their claim  on the  grounds that

          Appellants had failed to join an indispensable party, SMI,  whose





                              
          ____________________

          10  Relying on Santiago, Appellants contend  that their dismissal
                         ________
          was  unjustified  because (i)  they did  not  violate any  of the
          listed  violations  and  (ii)  BMSC ordered  their  dismissal  in
          violation of the established procedures.   They also contend that
          BMSC violated its "Involuntary Termination Plan Policy" according
          to which any officer  or employee dismissed up to  December 1992,
          as a  result of  the merger  would  be paid  a certain  severance
          amount. 

                                         -28-














          joinder  would  destroy  the  court's  diversity  jurisdiction.11

          Although Appellants argued that SMI was not indispensable because

          SMI officers acted at  the direction of BMSC, the  district court

          noted  that their claim was inherently based on the fact that SMI

          officers breached the employment contract when terminating  their

          employment.  Citing  Fed. R.  Civ. P. 19(b),  it concluded  that,

          because  SMI officers were thus actors in the alleged breach, SMI

          was  an indispensable party.  Noting its earlier factual finding,

          set forth in its decision granting partial summary judgment, that

          SMI is  a separate  entity from BMSC  and that it  was undisputed

          that SMI and  Appellants are  both citizens of  Puerto Rico,  the

          court  concluded that  SMI's  joinder would  result in  the court

          lacking diversity  jurisdiction.   In reaching its  decision, the

          district  court also  noted  that Appellants  could always  bring

          their breach of contract claim in the Commonwealth courts.  

                    Appellants  argue on  appeal  that  the district  court

          erred in concluding  that there was no diversity  jurisdiction in

          only the briefest of manners,  providing only one short paragraph

          without citation to case  law or to  Fed. R. Civ.  P. 19.   Apart

          from reiterating that SMI is  a subsidiary under BMSC's "complete

          control"  and  that  BMSC  is  a  Delaware  corporation with  its

          principal place  of  business  in New  York,  Appellants  do  not

          otherwise challenge or explain the error of  the district court's

          earlier factual  finding based on the  summary judgment materials
                              
          ____________________

          11  Having previously dismissed the federal claims,  the district
          court noted  that its  jurisdiction over the  breach of  contract
          claim was based on the diversity of the parties' citizenship.

                                         -29-














          that  SMI  is  a separate  company  from BMSC.    In  a similarly

          superficial manner,  Appellants merely reiterate that  SMI is not

          an indispensable party because the injury and damages were caused

          by  BMSC,  providing no  adequate  basis for  concluding  why the

          district  court erred  in concluding  that SMI,  an actor  in the

          alleged breach, was an indispensable party.

                    The weakness of Appellants'  arguments here leads us to

          find waiver.  See  e.g., McCoy v. Massachusetts Inst.  of Techn.,
                        ___  ____  _____    ______________________________

          950  F.2d  13, 23  (1st Cir.  1991)  (finding waiver  where party

          failed to  meet affirmative responsibility of  putting "best foot

          forward  in  an effort  to present  some  legal theory  that will

          support [its] claim"), cert. denied, 504 U.S. 910  (1992); United
                                 ____________                        ______

          States  v. Zannino, 895 F.2d  1, 17 (1st  Cir.) (reiterating that
          ______     _______

          "issues  adverted to  in a  perfunctory manner,  unaccompanied by

          some  effort at  developed argumentation,  are deemed  waived."),

          cert.  denied, 494  U.S.  1082  (1990).    Indeed,  in  light  of
          _____________

          Appellants'  failure to  even mention  Rule  19, let  alone claim

          error thereunder, we see no  reason why we should embark  on Rule

          19's indispensable  party analysis,  see  Fed. R.  Civ. P.  19(b)
                                               ___

          (enumerating  factors to  be considered  to determine  whether in

          equity and  good conscience courts should  proceed without absent

          party when joinder  would deprive the court of jurisdiction); see
                                                                        ___

          also,  Pujol v.  Shearson/American Express,  Inc., 877  F.2d 132,
          ____   _____     ________________________________

          134-138   (1st  Cir.   1989)   (discussing  indispensable   party

          analysis), and explore arguments on their  behalf, see McCoy, 950
                                                             ___ _____




                                         -30-














          F.2d at 22 ("Overburdened  trial judges cannot be expected  to be

          mind readers.").

                    We  agree  with the  district  court  that inherent  in

          Appellants' claim is  that SMI  officers were the  actors in  the

          alleged  breach:    while  BMSC may  have  "ordered"  Appellants'

          dismissal,  it  was SMI  officers that  did  not comply  with the

          dismissal  provisions set forth in the Employee Manual.  In light

          of this and the two  undisputed facts that SMI (i) is  a separate

          legal entity from BMSC  and (ii) was Appellants' employer  at the

          time of their  dismissal, we conclude  that Appellants' cause  of

          action for severance pay could not be brought against BMSC as any

          claim arising  under the employment  contract between  Appellants

          and SMI should have been brought against SMI.  Furthermore, while

          Appellants may not have their day in federal  court, they are not
                                               _______

          --  contrary  to their  assertions --  deprived  of their  day in

          court:  Because the applicable statute  of limitations was tolled

          by  Appellants' filing of their  action in federal  court, see 31
                                                                     ___

          L.P.R.A.   5303,  Appellants will  be able to  file their  claims

          based  on breach  of the  employment contract,  as well  as other

          claims, in the Commonwealth court. 

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    Without  commenting on  the  propriety  of  Appellants'

          dismissals  or  the  manner  in which  they  were  dismissed, the

          district court's decision is affirmed for the foregoing reasons.
                                       affirmed
                                       ________






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